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6

7                          UNITED STATES DISTRIC COURT
8                         CENTRAL DISTRICT OF CALIFORNIA

9    THE ESTATE OF KENNEY WATKINS, ) Case No.: 2:17-CV-00485-JFW (FFMx)
     PRESCIOUS SASSER, individually, as )
10                                      )
     successor in interest to KENNEY    ) PLAINTIFFS’ FIRST AMENDED
11   WATKINS,                           ) COMPLAINT FOR
                                        )
12                                      )   1) Wrongful Death
                 Plaintiffs,            )   2) Negligence
13        vs.                           )   3) Assault;
                                        )   4) Battery;
14                                      )   5) Negligent Hiring, Training and
     CITY OF LOS ANGLES, LOS            )       Supervision;
15   ANGELES POLICE DEPARTMENT, )           6) Bane Act Violations (Civil Code §
     EVAN URIAS, and DOES 1             )       52.1)
16
     THROUGH 25, INCLUSIVE,             )   7)  Violation/Deprivation of Civil
                                        )       Rights Under Color of Law
17                                      )       Pursuant to the 4th and 14th
                 Defendants             )       Amendments to the United
18                                      )       States Constitution (42 USC §
                                        )       1983)
19                                      )
                                        )
     _______________________________ ))        DEMAND FOR JURY TRIAL
20

21

22

23

24           PLAINTIFFS THE ESTATE OF KENNEY WATKINS and PRESCIOUS
25   SASSER allege:
26                                         PARTIES
27      1.     Plaintiff PRESCIOUS SASSER, is the surviving mother of Decedent
28   KENNEY WATKINS, and is a resident of the State of California, and presently

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1    resides in Los Angeles County. Plaintiff is pursuing the claims averred herein as
2    an individual and on behalf of KENNEY WATKINS as his personal representative
3    and successor in interest in accordance with California Code of Civil Procedure
4    §377.32 and 42 U.S.C. §§1983, 1985, 1986 and 1988 to seek redress for
5    Defendants’ violations of his and KENNEY WATKINS’S rights under the Fourth
6    and Fourteenth Amendments of the United States Constitution.
7       2.     Defendant CITY OF LOS ANGELES (“CITY”) is a municipal corporation
8    organized and existing under the laws of the State of California, and is a
9    “business establishment” within the meaning of sections 51 et. seq. of the
10   California Civil Code operating pursuant to its charter and the laws of the State of
11   California.
12      3.     Defendant LOS ANGELES POLICE DEPARTMENT (hereinafter
13   referred to as “LAPD”) is a department within the CITY OF LOS ANGELES.
14      4.     Defendant EVAN URIAS is an officer of the LOS ANGELES POLICE
15   DEPARTMENT.
16      5.     Plaintiffs are unaware of the true names and capacities of those
17   Defendants sued herein as DOE Defendants. Plaintiffs will amend this complaint
18   to allege said Defendants’ true names and capacities when that information
19   becomes known to them. Plaintiffs are informed, believe, and thereon allege that
20   these DOE Defendants are legally responsible and liable for the incident, injuries
21   and damages hereinafter set forth, and that each of said Defendants proximately
22   caused the injuries and damages by reason of negligent, careless, deliberately
23   indifferent, intentional, willful or wanton misconduct, including the negligent,
24   careless, deliberately indifferent, intentional, willful or wanton misconduct in
25   creating and otherwise causing the incidents, conditions and circumstances
26   hereinafter set forth, or by reason of direct or imputed negligence or vicarious
27   fault or breach of duty arising out of the matters herein alleged. Plaintiffs will
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1    seek leave to amend this complaint to set forth said true names and identities of
2    the unknown named DOE Defendants when they are ascertained.
3       6.       Each of the named and unknown individual Defendants sued herein are
4    sued both in their individual and personal capacity, as well as in their official
5    capacity.
6       7.       Defendants and each of them at all times herein were the agents and
7    employees of their co-defendants and in doing these things hereafter alleged
8    were acting within the course and scope of their employment and agency and
9    with permission and consent of their co-defendants and employers.
10                           FACTS COMMON TO ALL COUNTS
11      8.       Plaintiffs have exhausted their administrative remedies by filing a claim
12   with the CITY OF LOS ANGELES. Plaintiffs’ claim was rejected on or about
13   November 7, 2016.
14      9.       This complaint concerns an incident which occurred on August 16,
15   2016 on Century Blvd., east of Figueroa Street in Los Angeles, California.
16      10.      LOS ANGELES POLICE DEPARTMENT OFFICER EVAN URIAS
17   (“URIAS”) and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
18   DEPARTMENT attempted a traffic stop of a vehicle in which decedent KENNEY
19   WATKINS was a passenger.
20      11.      KENNEY WATKINS exited the vehicle on foot and was pursued by
21   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
22   DEPARTMENT.
23      12.      KENNEY WATKINS was subsequently fatally shot multiple times by
24   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
25   DEPARTMENT.
26      13.      Both prior to and during the time in which he was assaulted and
27   battered as described above, the decedent KENNEY WATKINS was not armed
28   with any kind of weapon, and posed no reasonable threat of violence to any

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1    OFFICER, nor to any other individual. When he was assaulted and battered by
2    OFFICER URIAS and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
3    DEPARTMENT as described above, the decedent, KENNEY WATKINS made no
4    aggressive movements, no furtive gestures, and no physical movements which
5    would suggest to a reasonable officer that he was armed with any kind of
6    weapon, nor had the will, or the ability to inflict substantial bodily harm against
7    any individual.
8       14.    The decedent KENNEY WATKINS died as a direct and proximate result
9    of physical injuries sustained by the shooting, negligent tactics, and
10   unreasonable and excessive use of force inflicted upon him by OFFICER EVAN
11   URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
12   DEPARTMENT.
13      15.    Plaintiffs are informed and believe, and thereon allege, that OFFICER
14   EVAN URIAS, and DOE DEFENDANTS 1-10 of the LOS ANGELES POLICE
15   DEPARTMENT were negligently trained and retained by the CITY OF LOS
16   ANGELES in that they had known propensities for acting in the fashion that they
17   did with respect to this incident, all of which was a proximate cause of injuries
18   and death to the decedent, KENNEY WATKINS and all plaintiffs.
19                                 FIRST CAUSE OF ACTION
20                                    (For Wrongful Death)
21                         (By All Plaintiffs Against All Defendants)
22      16.    Plaintiffs reallege and reincorporate each and every allegation and
23   averment set forth in Paragraphs 1 through 15 of this complaint as though fully
24   set forth herein.
25      17.    This complaint concerns an incident which occurred on August 16,
26   2016 on Century Blvd., east of Figueroa Street in Los Angeles, California.
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1       18.    LAPD OFFICER EVAN URIAS (“URIAS”). and DOE DEFENDANTS 1-
2    10 of the LAPD attempted a traffic stop of a vehicle in which decedent KENNEY
3    WATKINS was a passenger.
4       19.    KENNEY WATKINS exited the vehicle on foot and was pursued by
5    OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
6       20.    KENNEY WATKINS was subsequently fatally shot multiple times by
7    OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
8       21.    Both prior to and during the time in which he was assaulted and
9    battered as described above, the decedent KENNEY WATKINS was not armed
10   with any kind of weapon, and posed no reasonable threat of violence to any
11   OFFICER, nor to any other individual. When he was assaulted and battered by
12   OFFICER URIAS and DOE DEFENDANTS 1-10 of the LAPD as described
13   above, the decedent, KENNEY WATKINS made no aggressive movements, no
14   furtive gestures, and no physical movements which would suggest to a
15   reasonable officer that he was armed with any kind of weapon, nor had the will,
16   or the ability to inflict substantial bodily harm against any individual.
17      22.    The decedent KENNEY WATKINS died as a direct and proximate result
18   of physical injuries sustained by the shooting, negligent tactics, and
19   unreasonable and excessive use of force inflicted upon him by OFFICER EVAN
20   URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
21      23.    Plaintiffs are informed and believe, and thereon allege, that OFFICER
22   EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD were negligently
23   trained and retained by the CITY OF LOS ANGELES in that they had known
24   propensities for acting in the fashion that they did with respect to this incident, all
25   of which was a proximate cause of injuries and death to the decedent, KENNEY
26   WATKINS and all plaintiffs.
27      24.    As a proximate result of the death of the Decedent and the above-
28   described conduct of Defendants, and each of them, PRESCIOUS SASSER and

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1    KENNEY WATKINS’S heirs have sustained substantial economic and non-
2    economic damages resulting from the loss of the love, comfort, society, attention,
3    services and support of Decedent in an amount according to proof at trial.
4       25.    As a further proximate result of the above-described conduct of the
5    Defendants, and each of them, and the ensuing death of the Decedent, KENNEY
6    WATKINS’s heirs have incurred funeral and burial expenses in an amount
7    according to proof at trial.
8       26.    As a proximate result of the above-mentioned conduct of Defendants,
9    and each of them, Plaintiffs were required to employ and did employ physicians
10   to examine, treat and care for them, and incurred additional medical expenses for
11   emergency treatment, hospital bills, and other incidental medical expenses in an
12   amount according to proof at trial.
13                                SECOND CAUSE OF ACTION
14
                 (Survival   Action by the ESTATE OF KENNEY WATKINS,
15
           Against Defendant EVAN URIAS and DOE DEFENDANTS 1-10 for
16
                                            Negligence)
17
        27.    Plaintiffs reallege and reincorporate each and every allegation and
18
     averment set forth in Paragraphs 1 through 26 of this complaint as though fully
19
     set forth herein.
20
        28.    On August 16, 2016, decedent KENNEY WATKINS was fatally shot
21
     multiple times by OFFICER URIAS and DOE DEFENDANTS 1-10 of the LAPD.
22
        29.    At no time during the course of these events did the decedent,
23
     KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, or DOE
24
     DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
25
     against him and the same was deadly, excessive, unnecessary, and unlawful.
26
        30.    At all times mentioned herein, URIAS and DOE DEFENDANTS 1-10 of
27
     the LAPD owed KENNEY WATKINS a duty of care to avoid causing unnecessary
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     physical harm and distress in the execution and enforcement of the law.

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1       31.    By deliberately and intentionally shooting numerous rounds directly at
2    KENNEY WATKINS, URIAS and DOE DEFENDANTS 1-10 of the LAPD
3    intended to and did cause serious injury and death to KENNEY WATKINS. Such
4    actions were in conscious and reckless disregard of the risk of injury and death
5    and under the circumstances there was no objectively reasonable basis for the
6    defendants’ actions in shooting as they did and in killing KENNEY WATKINS.
7       32.    In conducting himself as alleged herein, URIAS AND DOE
8    DEFENDANTS 1-10 of the LAPD breached their duty of care.
9       33.    As an actual and proximate result of URIAS’ and DOE DEFENDANTS
10   1-10 of the LAPD’S acts, as alleged herein, conducted without due care in the
11   execution and enforcement of the law, KENNEY WATKINS was killed.
12                                 THIRD CAUSE OF ACTION
13
                (Survival    Action by the ESTATE OF KENNEY WATKINS,
14
                              Against All Defendants for Assault)
15
        34.    Plaintiffs reallege and reincorporate each and every allegation and
16
     averment set forth in Paragraphs 1 through 33 of this complaint as though fully
17
     set forth herein.
18
        35.    This complaint concerns an incident which occurred on August 16,
19
     2016 on Century Blvd., east of Figueroa Street in Los Angeles, California.
20
        36.    LAPD OFFICER EVAN URIAS (“URIAS”) and DOE DEFENDANTS 1-
21
     10 of the LAPD attempted a traffic stop of a vehicle in which decedent KENNEY
22
     WATKINS was a passenger.
23
        37.    KENNEY WATKINS exited the vehicle on foot and was pursued by
24
     OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
25
        38.    KENNEY WATKINS was subsequently fatally shot multiple times by
26
     OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
27
        39.    Both prior to and during the time in which he was assaulted and
28
     battered as described above, the decedent KENNEY WATKINS was not armed

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1    with any kind of weapon, and posed no reasonable threat of violence to any
2    OFFICER, nor to any other individual. When he was assaulted and battered by
3    OFFICER URIAS and DOE DEFENDANTS 1-10 of the LAPD as described
4    above, the decedent, KENNEY WATKINS made no aggressive movements, no
5    furtive gestures, and no physical movements which would suggest to a
6    reasonable officer that he was armed with any kind of weapon, nor had the will,
7    or the ability to inflict substantial bodily harm against any individual.
8       40.    When KENNEY WATKINS was assaulted and battered by OFFICER
9    URIAS, and DOE DEFENDANTS 1-10 of the LAPD, the decedent, KENNEY
10   WATKINS made no aggressive movements, no furtive gestures, and no physical
11   movements which would suggest to a reasonable OFFICER that he was armed
12   with any kind of weapon, nor had the will, or the ability to inflict substantial bodily
13   harm against any individual.
14      41.    That evening the decedent KENNEY WATKINS died as a direct and
15   proximate result of the fatal gunshot wounds sustained at the hands of OFFICER
16   EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
17      42.    In doing the acts as alleged above, defendants intended to and did
18
     cause an unlawful, non-consensual offensive contact with KENNEY WATKINS’S
19
     person.
20
        43.    As a result of defendants’ acts as alleged above, KENNEY WATKINS,
21
     in fact, was placed in great apprehension of harmful or offensive contact with his
22

23
     person and was injured.

24      44.    The aforementioned acts and omissions alleged herein were intended
25   by each defendant to cause injury to KENNEY WATKINS, and the acts and
26   omissions were willful, wanton, malicious and oppressive, thereby justifying the

27   awarding of exemplary and punitive damages against each of the individual

28   defendants in an amount to be determined according to proof at trial.


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1                                 FOURTH CAUSE OF ACTION
2               (Survival Action by the ESTATE OF KENNEY WATKINS,
3                             Against All Defendants for Battery)
4       45.    Plaintiffs reallege and reincorporate each and every allegation and
5    averment set forth in Paragraphs 1 through 44 of this complaint as though fully
6    set forth herein.
7       46.    On August 16, 2016, decedent KENNEY WATKINS was fatally shot
8    multiple times by OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
9       47.    At no time during the course of these events did the decedent,
10   KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, and DOE
11   DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
12   against him and the same was deadly, excessive, unnecessary, and unlawful.
13      48.    When KENNEY WATKINS was assaulted and battered by OFFICER
14   URIAS, and DOE DEFENDANTS 1-10 of the LAPD, the decedent, KENNEY
15   WATKINS made no aggressive movements, no furtive gestures, and no physical
16   movements which would suggest to a reasonable OFFICER that he was armed
17   with any kind of weapon, nor had the will, or the ability to inflict substantial bodily
18   harm against any individual.
19      49.    That evening the decedent KENNEY WATKINS died as a direct and
20   proximate result of the fatal gunshot wounds inflicted upon him by OFFICER
21   EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
22      50.    The aforementioned acts and omissions alleged herein were intended
23   by each defendant to cause injury to KENNEY WATKINS, and the acts and
24   omissions were willful, wanton, malicious and oppressive, thereby justifying the
25   awarding of exemplary and punitive damages against each of the individual
26   defendants in an amount to be determined according to proof at trial.
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1                                  FIFTH CAUSE OF ACTION
2      (By All Plaintiffs Against Defendants CITY OF LOS ANGELES, LAPD and
3                                 DOE DEFENDANTS 11-20 for
4                        Negligent Hiring, Training, and Supervision)
5       51.    Plaintiffs reallege and reincorporate each and every allegation and
6    averment set forth in Paragraphs 1 through 50 of this complaint as though fully
7    set forth herein.
8       52.    On August 16, 2016, decedent KENNEY WATKINS was fatally shot
9    multiple times by OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
10      53.    At no time during the course of these events did the decedent,
11   KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, or DOE
12   DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
13   against him and the same was deadly, excessive, unnecessary, and unlawful.
14      54.    When KENNEY WATKINS was assaulted and battered by OFFICER
15   URIAS, and DOE DEFENDANTS 1-10 of the LAPD, KENNEY WATKINS made
16   no aggressive movements, no furtive gestures, and no physical movements
17   which would suggest to a reasonable OFFICER that he was armed with any kind
18   of weapon, nor had the will, or the ability to inflict substantial bodily harm against
19   any individual.
20      55.    That evening the decedent KENNEY WATKINS died as a direct and
21   proximate result of physical injuries sustained by the severe beating and
22   unreasonable restraint maneuvers inflicted upon him by the OFFICER EVAN
23   URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
24      56.    Plaintiffs are informed and believe, and thereon allege, that the involved
25   deputies and/or officers of the LAPD were Negligently Trained and Retained by
26   Doe Defendants 10-20 of the CITY OF LOS ANGELES and the LAPD in that
27   they had known propensities for acting in the fashion that they did with respect to
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1    this incident, all of which was a proximate cause of injuries and death to the
2    decedent, KENNEY WATKINS and all plaintiffs.
3       57.    As a result of these acts, the decedent was placed in great fear of his
4    life and physical wellbeing. Moreover, due to the wrongful, intentional and
5    malicious acts of each of these defendants, the decedent suffered extreme pain
6    and severe mental anguish, as well as mental and physical damage and injury to
7    his mind and body.
8       58.    As a proximate result of the above-mentioned conduct of defendants,
9    and each of them, the decedent was required to employ and did employ
10   physicians and surgeons to examine, treat, and care for him, and incurred
11   additional medical expenses for emergency treatment, hospital bills, and other
12   incidental medical expenses and funeral and burial expenses in an amount
13   according to proof at trial.
14                                  SIXTH CAUSE OF ACTION
15                   By Plaintiff THE ESTATE OF KENNEY WATKINS
16                                    Against All Defendants
17                        for Bane Act Violations (Civil Code § 52.1)
18      59.    Plaintiffs reallege and reincorporate each and every allegation and
19   averment set forth in Paragraphs 1 through 58 of this complaint as though fully
20   set forth herein.
21      60.    This cause of action is to redress the deprivation, under color of statute,
22   ordinance, regulations, policy, custom, practice or usage of a right, privilege, and
23   immunity secured to KENNEY WATKINS by the Fourth, and Fourteenth
24   Amendments to the United States Constitution.
25      61.    At all times mentioned herein, the Defendants CITY OF LOS ANGELES
26   and the LAPD employed the individual Defendants herein. Said Defendants
27   provided their individual Defendant employees and agents with official badges
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1    and identification cards which designated and described the bearers as
2    employees of the municipal defendants.
3       62.    During all times mentioned herein, the individual Defendants, and each
4    of them, separately and in concert, acted under color and pretense of law, under
5    color of the statutes, ordinances, regulations, policies, practices, customs and
6    usages of the LAPD. Each of the individual Defendants here, separately and in
7    concert, deprived all plaintiffs of the rights, privileges and immunities secured to
8    them by the Fourth, and Fourteenth Amendments to the United States
9    Constitution and the laws of the United States.
10      63.    On August 16, 2016, decedent KENNEY WATKINS was fatally shot by
11   OFFICER URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
12      64.    At no time during the course of these events did the decedent,
13   KENNEY WATKINS, pose any reasonable threat to OFFICER URIAS, or DOE
14   DEFENDANTS 1-10 of the LAPD, nor did he do anything to justify the force used
15   against him and the same was deadly, excessive, unnecessary, and unlawful.
16      65.    When KENNEY WATKINS was assaulted and battered by OFFICER
17   URIAS, and DOE DEFENDANTS 1-10 of the LAPD, the decedent, KENNEY
18   WATKINS made no aggressive movements, no furtive gestures, and no physical
19   movements which would suggest to a reasonable OFFICER that he was armed
20   with any kind of weapon, nor had the will, or the ability to inflict substantial bodily
21   harm against any individual.
22      66.    That evening the decedent KENNEY WATKINS died as a direct and
23   proximate result of physical injuries sustained by the fatal shooting inflicted upon
24   him by OFFICER EVAN URIAS, and DOE DEFENDANTS 1-10 of the LAPD.
25      67.    KENNEY WATKINS had a liberty interest to life and the right not to be
26   deprived of liberty or property without due process of law. All of these rights and
27   privileges are secured to plaintiffs by the provisions of the Fourth Amendment
28   and the Due Process clause of the Fourteenth Amendments to the United States

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1    Constitution, and by California Civil Code §§ 52, and 52.1. All of these interests
2    were implicated by the wrongful conduct of the defendants which proximately
3    caused KENNEY WATKINS’S death.
4       68.    Each of the individual defendants acted outside the scope of his/her
5    jurisdiction and without authorization of law and each of the individual defendants
6    acted willfully, knowingly, with reckless disregard and callous indifference, and
7    did in fact violate those rights and privileges, entitling plaintiffs to exemplary
8    damages against the individual defendants, in their individual capacities, in an
9    amount to be proven at the trial of this matter.
10      69.    As a direct and proximate result of the aforesaid acts, omission,
11   customs, practices, policies and decisions of the defendants and each of them,
12   plaintiffs have suffered great mental and physical pain, suffering, anguish, fright,
13   nervousness, anxiety, grief, shock, humiliation, indignity, embarrassment,
14   apprehension, the loss of love, comfort, society, solace and support, all to their
15   damage in a sum to be determined at trial. Additionally, plaintiffs have been
16   forced to incur substantial amounts for attorneys’ fees, investigation expenses,
17   and other expenses in the vindication of their constitutional rights.
18      70.    As a result of these acts, plaintiffs were placed in great fear of their lives
19   and physical wellbeing. Moreover, due to the wrongful, intentional, and malicious
20   acts of each of these defendants, plaintiffs have suffered and will continue to
21   suffer, extreme pain and severe mental anguish, as well as mental and physical
22   damage and injury to their minds and bodies.
23      71.    As a proximate result of the above-mentioned conduct of defendants,
24   and each of them, plaintiffs have been required to employ and did employ
25   physicians and surgeons to examine, treat, and care for them, and incurred
26   additional medical expenses for emergency treatment, hospital bills, and other
27   incidental medical expenses in an amount according to proof at trial.
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1       72.    The aforementioned acts and omissions alleged herein were intended
2    by each defendant to cause injury to plaintiffs, and were undertaken with a
3    conscious disregard for the rights and safety of the plaintiffs as the acts and
4    omissions were willful, wanton malicious and oppressive, thereby justifying the
5    awarding of exemplary and punitive damages against each of the individual
6    defendants in an amount to be determined according to proof at trial.
7       73.    Plaintiffs hereby demand attorneys’ fees pursuant to section 52 of the
8    California Civil Code.
9                                SEVENTH CAUSE OF ACTION
10    (Pursuant to 42 U.S.C. § 1983 for Violations of Plaintiffs’ Rights Under the
11      Fourth and Fourteenth Amendments to the United States Constitution)
12      74.    Plaintiffs reallege and reincorporate each and every allegation and
13   averment set forth in Paragraphs 1 through 73 of this complaint as though fully
14   set forth herein.
15      75.    At all times mentioned herein, KENNEY WATKINS had a right under
16   the Fourth Amendment to the United States Constitution to be free from
17   excessive and unreasonable force, a right to be free from the unnecessary
18   infliction of pain, suffering and torture, a right to life and a right to privacy. Under
19   the Fourteenth Amendment to the United States Constitution, Plaintiffs had a
20   cognizable right to a familial relationship with KENNEY WATKINS, as well as the
21   related right to be free from unwarranted State interference with the same.
22      76.    Defendants OFFICER URIAS, and DOE DEFENDANTS 1-10 of the
23   LAPD, under color of law, used excessive and deadly force against KENNEY
24   WATKINS without justification as averred herein. Defendants acted in reckless
25   and callous disregard for the constitutional rights of Plaintiffs and KENNEY
26   WATKINS thereby violating Plaintiffs’ and KENNEY WATKINS’S rights under the
27   Fourth and Fourteenth Amendments.
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                         FIRST AMENDED COMPLAINT (USDC CASE NO. 2:17-CV-00485)
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1          77.   Plaintiffs seek general and special damages according to proof
2    including damages for the pain and suffering KENNEY WATKINS endured prior
3    to his death; damages for KENNEY WATKINS’S loss of the enjoyment of life’s
4    activities; and damages for the deprivation of Plaintiffs’ constitutionally protected
5    interest in the familial relationship, love, care, and companionship of their father,
6    KENNEY WATKINS
7          78.   The aforementioned acts of the Defendants and each of them were
8    willful, wanton, malicious and oppressive and thereby justifies the awarding of
9    exemplary and punitive damages. Further, Plaintiffs are entitled to, and do seek,
10   attorney’s fees pursuant to 42 U.S.C. § 1988.
11           WHEREFORE, plaintiff prays for judgment against defendants and each of
12   them as follows:
13               1.    For burial and funeral related expenses according to proof at trial;
14               2.    For general damages in an amount to be determined according to
15                     proof at trial;
16               3.    For medical and related expenses according to proof at trial;
17               4.    For costs of suit incurred herein;
18               5.    For punitive damages against EVAN URIAS and individual DOE
19                     DEFENDANTS 1-20 in an amount to be determined according to
20                     proof at trial;
21               6.   For attorneys’ fees, investigation fees, and expert witness fees
22                    incurred herein; and
23   ///
24   ///
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1              7.    For such other and further relief as the court may deem just and
2                    proper.
3

4    DATED: March 27, 2017                  LAW OFFICE OF MICHAEL J. CURLS
5

6

7                                                    By:/s/ Nichelle D. Jones
8
                                                     Nichelle D. Jones, Attorneys for
                                                     Plaintiffs THE ESTATE OF KENNEY
9                                                    WATKINS, et al.
10

11

12
                                    DEMAND FOR JURY TRIAL

13          Plaintiffs hereby demand a trial by jury through their counsel of record as
14   to all issues so triable.
15

16   DATED: March 27, 2017                  LAW OFFICE OF MICHAEL J. CURLS
17

18

19                                                   By:/s/ Nichelle D. Jones
                                                     Nichelle D. Jones, Attorneys for
20
                                                     Plaintiffs ESTATE OF KENNEY
21                                                   WATKINS, et al.
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